Case 1:19-mc-00181-UNA Document 1-1 Filed 10/23/19 Page 1 of 2

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Columbia

 

In re DMCA 512(h) Subpoena to Cloudflare, Inc. )
Plaintiff ) Case: 1:19—mc—00181
\e ) Assigned To : Unassigned
) Assign. Date : 10/23/2019
Sl ) Description: MISC.
Defendant )

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Cloudflare, lnc., 101 Townsend Street, Legal Department, San Francisco, CA 94107

 

 

(Name of person to whom this subpoena is directed)

4 Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: Information sufficient to identify the alleged infringers of the sound recordings described in the attached

notification. This would include the individuals' names, physical addresses, IP addresses, telephone numbers,
e-mail addresses, payment information, account updates and account history.

 

 

Date and Time:
11/05/2019 5:00 pm

Place: Victoria Sheckler, Esq. Recording Industry Association
of America, Inc., 1025 F Street NW, 10th Floor,
Washington, DC 20004, antipiracy@riaa.com

 

 

 

 

 

1 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

 

| Place: Date and Time:

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

 

 

 

Date:

CLERK OF COURT
OR

 

 

Signature of Clerk or Deputy Clerk Attorney’s signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name of party) -
, who issues or requests this subpoena, are:

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

 

on (date)

C1 I served the subpoena by delivering a copy to the named person as follows:

 

 

 

On (date) ; Or

 

© I returned the subpoena unexecuted because:

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$ -

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc.:
